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                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

MERCIS B.V.,

        Plaintiff,                                         Case No.: 1:19-cv-2058

   v.                                                      Judge Robert W. Gettleman

THE PARTNERSHIPS AND UNINCORPORATED                        Magistrate Judge Sheila M. Finnegan
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

        Defendants.

                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                 NO.                                  DEFENDANT
                  34                                  2018world*top1


DATED: May 24, 2019                                  Respectfully submitted,

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt (Bar No. 6207971)
                                                     Keith Vogt, Ltd.
                                                     1033 South Blvd., Suite 200
                                                     Oak Park, Illinois 60302
                                                     Telephone: 708-203-4787
                                                     E-mail: keith@vogtip.com

                                                     ATTORNEY FOR PLAINTIFF
    Case: 1:19-cv-02058 Document #: 31 Filed: 05/24/19 Page 2 of 2 PageID #:390



                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on May 24, 2019 with the Clerk of the Court using the CM/ECF
system, which will automatically send an email notification of such filing to all registered attorneys
of record.

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt
